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                    Hong Kong Leyuzhen Technology Co. Limited v.
        The Partnerships and Unincorporated Associations Identified on Schedule A

                                AMENDED Schedule A


Defendant
                   Seller's Name                      Link to Infringing Photo
   No.

                                      VA0002379888
                                      1-13189565421
                                          https://www.amazon.com/sp?ie=UTF8&seller=A1
                      Beverly
   1                                      2HMN9RBHO7D5&asin=B09N2HYBR7&ref_=d
                       Etily
                                                p_merchant_link&isAmazonFulfilled=1
                                          https://www.amazon.com/sp?ie=UTF8&seller=A2
                       BIRW
   2                                      Z1F2K3EPHO4V&asin=B0CQQV4NC6&ref_=d
                    (new photo)
                                                          p_merchant_link
                                          https://www.amazon.com/sp?ie=UTF8&seller=A1
   3                   Bttup              2Q5M9I186LO2&asin=B0CM2BM39J&ref_=dp_
                                                 merchant_link&isAmazonFulfilled=1
                                          https://www.amazon.com/sp?ie=UTF8&seller=AP
   4                  Dawery              46B15WHDSKO&asin=B0CPJ9WPR2&ref_=dp_
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                                          https://www.amazon.com/sp?ie=UTF8&seller=A3
                      Disimlarl
   5                                      GY7SDB3JRSJP&asin=B0BVHBLG1C&ref_=dp
                      Aihua.W
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                                          https://www.amazon.com/sp?ie=UTF8&seller=A1
   6                 ENOPINK              QVPV7B4MGORH&asin=B0CFPS23GC&ref_=d
                                                p_merchant_link&isAmazonFulfilled=1
                                          https://www.amazon.com/sp?ie=UTF8&seller=A1
                    FANDEE
   7                                      EJYSF9JPAZ06&asin=B0CLG1BV1R&ref_=dp_
                Fandee Branch Store
                                                 merchant_link&isAmazonFulfilled=1
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   8                                                        DISMISSED
                   iPhoenix shop
                      Generic             https://www.amazon.com/sp?ie=UTF8&seller=A2
   9                                      W2TGOZGCCAID&asin=B0CLX533QF&ref_=d
                     OWMNA                               p_merchant_link
                      Generic             https://www.amazon.com/sp?ie=UTF8&seller=A2
   10                                     53CNHTS0PHQM&asin=B0CH9XJHPC&ref_=d
                     Girls' Club                         p_merchant_link
                      Generic
                                          https://www.amazon.com/sp?ie=UTF8&seller=A
   11                                     DKDYVS4OBFRN&asin=B0CNKLWCTW&ref_
              Goddess Accent✈15-18
                                                       =dp_merchant_link
                 Days Delivery✈
                     Generic
   12                                                       DISMISSED
                     ZTY66
Case: 1:24-cv-02939 Document #: 95 Filed: 06/15/24 Page 2 of 15 PageID #:1842

                    Hong Kong Leyuzhen Technology Co. Limited v.
        The Partnerships and Unincorporated Associations Identified on Schedule A

                                AMENDED Schedule A
Defendant
                   Seller's Name                     Link to Infringing Photo
   No.
                      Generic
   13            Jerem(✈7-16 Days                           DISMISSED
                     Delivery✈)
                      Generic             https://www.amazon.com/sp?ie=UTF8&seller=A3
   14                                     AIVWDH6QPF37&asin=B0C6WTPZXG&ref_=d
                    DGJIUN                               p_merchant_link
                     hlysgo
   15         women clothes clearance                       DISMISSED
                       sale
                                          https://www.amazon.com/sp?ie=UTF8&seller=A3
   16                HugeNice             3LCCVQ65LYQC&asin=B09NZXW6PP&ref_=d
                                                p_merchant_link&isAmazonFulfilled=1
                                          https://www.amazon.com/sp?ie=UTF8&seller=A8
                                          W6GPHZXI613&asin=B09BN2YWGF&ref_=dp
   17                 LaiyiVic
                                                 _merchant_link&isAmazonFulfilled=1

                     LKPJJFRG             https://www.amazon.com/sp?ie=UTF8&seller=AL
                                          MZHA3U6IOAP&asin=B0C1BSH5KL&ref_=dp
   18
             LKPJJFRG 2024(7-12 day                      _merchant_link
                  fast delivery)
                  MACVARIL                https://www.amazon.com/sp?ie=UTF8&seller=A1
   19                                     0QMU8ZINLZ18&asin=B0CSSXPWHX&ref_=d
                  MACVARIL-US                             p_merchant_link
                  MIANCHAOBEI              https://www.amazon.com/sp?ie=UTF8&seller=A
   20                                     YA4V6KGW7IX9&asin=B0CR6HC7CT&ref_=d
                   HSQIBAOER                              p_merchant_link
                                          https://www.amazon.com/sp?ie=UTF8&seller=A1
   21               MsavigVice            FSV5VM6E7S2C&asin=B09K3QX99R&ref_=dp
                                                 _merchant_link&isAmazonFulfilled=1
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             taianxianhongxiufuzhuang
   22                                     G8U488GPZJL9&asin=B09YV1MBQ7&ref_=dp
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   23                 Nmoder              IR1NFH8JGQWA&asin=B0CCTJ7RSH&ref_=dp
                                                _merchant_link&isAmazonFulfilled=1
   24                  Oplxuo                               DISMISSED

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Case: 1:24-cv-02939 Document #: 95 Filed: 06/15/24 Page 3 of 15 PageID #:1843

                    Hong Kong Leyuzhen Technology Co. Limited v.
        The Partnerships and Unincorporated Associations Identified on Schedule A

                                AMENDED Schedule A
Defendant
                   Seller's Name                     Link to Infringing Photo
   No.
                                         https://www.amazon.com/sp?ie=UTF8&seller=A2
   25                Oxgmoky             VFPW0G0RD8MC&asin=B0CN19HRGZ&ref_=
                                              dp_merchant_link&isAmazonFulfilled=1
                                         https://www.amazon.com/sp?ie=UTF8&seller=A2
   26                 PerZeal            V0GGS1757V6A&asin=B0CP214KDS&ref_=dp_
                                                merchant_link&isAmazonFulfilled=1
                      PWFSS              https://www.amazon.com/sp?ie=UTF8&seller=A6
   27                                    I2HGL4MLB3&isAmazonFulfilled=0&asin=B0B
                     iuebc_NHF                   TP9QTT6&ref_=olp_merch_name_1
                       Remelon           https://www.amazon.com/sp?ie=UTF8&seller=A1
   28                                    B40DX4YP5LTR&asin=B0BZCDNSR2&ref_=dp
                      Remetina                            _merchant_link
                      SAEYZ
                                          https://www.amazon.com/sp?ie=UTF8&seller=A1
   29        Yuanzhouquxugubaihuodia      0DPCZCIJNSA6&asin=B0CHK83BP9&ref_=dp_
                       n                                  merchant_link

                                         https://www.amazon.com/sp?ie=UTF8&seller=A1
                      SeNight
   30                                    VG2FFJHUNFR9&asin=B0CPDJDWTW&ref_=d
                                               p_merchant_link&isAmazonFulfilled=1
                      Serakura           https://www.amazon.com/sp?ie=UTF8&seller=A3
   31                                    TTJ640H5297G&asin=B0CBLZYTBG&ref_=dp_
                  Fashion-Serakura                         merchant_link
                                         https://www.amazon.com/sp?ie=UTF8&seller=A3
   32                sexycherry          NLWIN351W45P&asin=B0CB3XJ2ZY&ref_=dp
                                                _merchant_link&isAmazonFulfilled=1
                                         https://www.amazon.com/sp?ie=UTF8&seller=A1
                      TieBnss
   33                                    74G6F7YQMKO9&asin=B0BP7WJZRF&ref_=d
                                               p_merchant_link&isAmazonFulfilled=1
                   TURWXGSO
                                          https://www.amazon.co.uk/sp?ie=UTF8&seller=A
   34                                     PS15GVI9GIRT&asin=B0CJY3KRBT&ref_=dp_
              2024 Deals Women Shops
                                                          merchant_link
                   - TURWXGSO
                      UIFLQXX
   35                                                       DISMISSED
                  jiekeLongLONG
                                          https://www.amazon.com/sp?ie=UTF8&seller=A2
   36                 Useagrey            D3ULWFD2JM3&asin=B0CJXSDBP5&ref_=dp_
                                                          merchant_link



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                    Hong Kong Leyuzhen Technology Co. Limited v.
        The Partnerships and Unincorporated Associations Identified on Schedule A

                                  AMENDED Schedule A
Defendant
                   Seller's Name                     Link to Infringing Photo
   No.
                  VSERETLOON              https://www.amazon.com/sp?ie=UTF8&seller=A1
   37                                     LOKXJ7HRZE5D&asin=B0CF3L1ZXR&ref_=dp
               lingliufushijingpindian                   _merchant_link
                     wjiNFDFG
                                          https://www.amazon.com/sp?ie=UTF8&seller=A2
   38                                     2S1QAM7WV971&asin=B0CPHPCXM4&ref_=d
             JSWSTORE (Fast logistics
                                                         p_merchant_link
                / 7-14 day delivery)
                    YEWAYSZ              https://www.amazon.com/sp?ie=UTF8&seller=A2
   39                                    53CNHTS0PHQM&asin=B0CPSCPRLW&ref_=d
                     Girls' Club                         p_merchant_link
                                          https://www.amazon.com/sp?ie=UTF8&seller=A
   40                 Yiershu            WMWRV0TMJ2ZJ&asin=B0CF8LHL7B&ref_=d
                                               p_merchant_link&isAmazonFulfilled=1
               ZCVBOCZ ZCVBOCZ
   41         Lightning Deals of Today                     DISMISSED
                       Prime
                                     VA0002379899
                                     1-13195071590
                      Angerella          https://www.amazon.com/sp?ie=UTF8&seller=A3
   42                                    7TFKY0PF5Y3Q&asin=B0CLNS96WC&ref_=dp
                 Angerella Fashion             _merchant_link&isAmazonFulfilled=1
   43                  Ausyst                               DISMISSED
                                          https://www.amazon.com/sp?ie=UTF8&seller=AP
   44                 Dawery              46B15WHDSKO&asin=B0CPHZZSND&ref_=dp
                                                         _merchant_link
                                          https://www.amazon.com/sp?ie=UTF8&seller=A3
   45                 fashsgirl           LJ6PHOZK3JJG&asin=B0CRKPBZ7L&ref_=dp_
                                                          merchant_link
                    Finelylove
   46                                                       DISMISSED
                 Finelylove Online
                    Generic               https://www.amazon.com/sp?ie=UTF8&seller=A3
   47                                     T2Z6MZ0UCKAI&asin=B0CNGSHD48&ref_=d
                ♛StunningQueen♛                          p_merchant_link
                      Generic
                                          https://www.amazon.com/sp?ie=UTF8&seller=A3
   48                                     QVNYUXAJ45SZ&asin=B0CNR7YK1P&ref_=d
              Holiday Deals-7-15 Days
                                                         p_merchant_link
              Delivery-Ruisiqi Trading



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Case: 1:24-cv-02939 Document #: 95 Filed: 06/15/24 Page 5 of 15 PageID #:1845

                    Hong Kong Leyuzhen Technology Co. Limited v.
        The Partnerships and Unincorporated Associations Identified on Schedule A

                                 AMENDED Schedule A
Defendant
                   Seller's Name                     Link to Infringing Photo
   No.
                      Generic             https://www.amazon.com/sp?ie=UTF8&seller=A3
   49                                     GTY4B75JXFTO&asin=B0CNCK3P7C&ref_=dp
                    aojingyibin                          _merchant_link
                      Generic
   50                Konghyp                                DISMISSED
                  manmaxiaowanzi
                                          https://www.amazon.com/sp?ie=UTF8&seller=A2
                      Generic
                                          HFL1FRLGNTT3&asin=B0CPXHW9B7&ref_=d
   51
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                      Tang jian

   52                                                       DISMISSED
                    SKDOGDT
                     Generic
                                          https://www.amazon.com/sp?ie=UTF8&seller=A3
   53                                     TL3GWMHM8N91&asin=B0CKVR5CRM&ref_
              HPJKLYTR ✈Lightning
                                                        =dp_merchant_link
                 Deals of Today✈
                     Generic
   54                                                       DISMISSED
                  YinheX sports
                     HGps8w
   55                                                       DISMISSED
                    Cambkatl
                                          https://www.amazon.com/sp?ie=UTF8&seller=A1
   56                 Kenvina             LDN9NJK9WOCL&asin=B0CNRB4CDZ&ref_=
                                                        dp_merchant_link
                   MABUTINGTI
                                          https://www.amazon.com/sp?ie=UTF8&seller=A1
   57                                     9LMMJX86UZKP&asin=B0CP9HX8GP&ref_=d
                MABUTINGTI April
                                                         p_merchant_link
                  Clearance Sale
                                         https://www.amazon.com/sp?ie=UTF8&seller=A2
   58                 Melliflo           04VZ73JZI3IU&asin=B0CN9CJ7XY&ref_=dp_m
                                                          erchant_link
                  OSFVNOXV
   59          OSFVNOXV lightning                           DISMISSED
                     deal
                    PAOOT                  https://www.amazon.com/sp?ie=UTF8&seller=A
   60                                     GVI4AXJ3JUH0&asin=B0CNPNHCLF&ref_=dp
                       ZXTC                               _merchant_link
                      Shulemin            https://www.amazon.com/sp?ie=UTF8&seller=A2
   61                                     N46G4IUCH9TU&asin=B0CPPPRB5T&ref_=dp
                     KoreahighI                           _merchant_link


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Case: 1:24-cv-02939 Document #: 95 Filed: 06/15/24 Page 6 of 15 PageID #:1846

                    Hong Kong Leyuzhen Technology Co. Limited v.
        The Partnerships and Unincorporated Associations Identified on Schedule A

                                AMENDED Schedule A
Defendant
                   Seller's Name                     Link to Infringing Photo
   No.
                      Shusuen
                                          https://www.amazon.com/sp?ie=UTF8&seller=A2
   62                                     IYQ415MK8JW3&asin=B0CNWVMPZS&ref_=d
              Tantisy ⭐Easter Day Big
                                                         p_merchant_link
                     Promotion
                                          https://www.amazon.com/sp?ie=UTF8&seller=A1
   63               SweatyRocks           VPKORG9334X4&asin=B0CNZMNSLK&ref_=d
                                                p_merchant_link&isAmazonFulfilled=1
                                          https://www.amazon.com/sp?ie=UTF8&seller=A3
   64          Taymeis women's store      3072IMML7XRG&isAmazonFulfilled=0&asin=B
                                               0CNP6PKM8&ref_=olp_merch_name_1
                    TDYHUAO
   65                                                       DISMISSED
                    NAIXIAFR
                    TIAFORD                https://www.amazon.com/sp?ie=UTF8&seller=AL
   66                                      DLK9QA3VS7T&asin=B0CPSQZ1DD&ref_=dp
                     WantSme                                 _merchant_link
                                           https://www.amazon.ca/sp?ie=UTF8&seller=A101
   67                 Verdusa              DP2OOKN70B&asin=B0CHJST9X6&ref_=dp_m
                                                   erchant_link&isAmazonFulfilled=1
                     ZWSPTO                https://www.amazon.com/sp?ie=UTF8&seller=A1
   68                                      EL78J9VTSGB9&asin=B0CNSJVPR4&ref_=dp_
                   ZWSPTO-US                                  merchant_link
                                       VA0002379907
                                       1-13195130257
                                           https://www.amazon.com/sp?ie=UTF8&seller=A1
   69                  DinyIn              92V8KA3X09GE&asin=B0CF1YH35P&ref_=dp
                                                  _merchant_link&isAmazonFulfilled=1
                     AIMITAG               https://www.amazon.com/sp?ie=UTF8&seller=A3
   70                                      3T33FO0H0XO5&asin=B0C713BGYT&ref_=dp
                     ANHEUM                       _merchant_link&isAmazonFulfilled=1
                      Apvirdy              https://www.amazon.com/sp?ie=UTF8&seller=A3
   71                                      GLPC10YSK1ED&asin=B0CNNZS4C9&ref_=dp
                    eFun Fashion                             _merchant_link
                                           https://www.amazon.com/sp?ie=UTF8&seller=A3
                   BTLYUIOAPE
   72                                      LAUVCBDU5RY0&asin=B0CQV5JV4X&ref_=d
                                                            p_merchant_link
                       Chvity              https://www.amazon.com/stores/Chvity/page/E8F
   73                                                  8D83B-5EFA-4D5E-81BC-
                   Vicity Fashion                     83079476139B?ref_=ast_bln


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Case: 1:24-cv-02939 Document #: 95 Filed: 06/15/24 Page 7 of 15 PageID #:1847

                    Hong Kong Leyuzhen Technology Co. Limited v.
        The Partnerships and Unincorporated Associations Identified on Schedule A

                                 AMENDED Schedule A
Defendant
                   Seller's Name                     Link to Infringing Photo
   No.
                                          https://www.amazon.com/sp?ie=UTF8&seller=A2
   74               DORFALNE              U67SAAGVFDQZ&asin=B0C8CYZ91K&ref_=d
                                                p_merchant_link&isAmazonFulfilled=1
                                          https://www.amazon.com/sp?ie=UTF8&seller=AP
   75                  Floerns            Y4FMSX4L6ZK&asin=B0CP1Q4W4K&ref_=dp
                                                 _merchant_link&isAmazonFulfilled=1
                                          https://www.amazon.com/stores/Fronage/page/27
   76                 Fronage                         AA3FE8-B5E0-4E58-8821-
                                                     8F3347C0755C?ref_=ast_bln
                      Generic             https://www.amazon.com/sp?ie=UTF8&seller=A3
   77                                     YZB1BOG9WFZ&asin=B0BYK4JF83&ref_=dp_
                      Yuu Nan                               merchant_link
                      Generic              https://www.amazon.com/sp?ie=UTF8&seller=A
   78                                     UI6MKPG1602F&asin=B0BZPKRPZK&ref_=dp
                    GGMYYGS                                _merchant_link
                      Generic
   79                                                       DISMISSED
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   80                                     QUADM2MVKRLB&asin=B0C8HVGJPD&ref_
               ✈7-14 days deliver-FY
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               Innovation Factory Co.
                      Generic
   81                                                       DISMISSED
                       UYISJ
                      Generic
   82                                                       DISMISSED
                     Leehonn
                                          https://www.amazon.com/sp?ie=UTF8&seller=A2
   83                 JTNFairy            NMAMDS3PZON3&asin=B0CH9DLLTY&ref_=
                                               dp_merchant_link&isAmazonFulfilled=1
                    JXQXHCFS              https://www.amazon.pl/sp?ie=UTF8&seller=AF2
   84                                     OFZP8QG8QX&asin=B0C6JKF4WK&ref_=dp_
                   HuaLinMuHui                            merchant_link
                     KINTAN               https://www.amazon.com/sp?ie=UTF8&seller=A2
   85                                     MCF23SJK110U&asin=B0CBJD261Q&ref_=dp_
                    daidaoshiwei                          merchant_link
                                          https://www.amazon.com/sp?ie=UTF8&seller=A3
   86               LightlyKiss           MVGZ4VGMDXN0&asin=B0CH8GRM22&ref_
                                              =dp_merchant_link&isAmazonFulfilled=1



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                    Hong Kong Leyuzhen Technology Co. Limited v.
        The Partnerships and Unincorporated Associations Identified on Schedule A

                                AMENDED Schedule A
Defendant
                   Seller's Name                     Link to Infringing Photo
   No.
                                          https://www.amazon.com/sp?ie=UTF8&seller=A3
   87                 MOJICK              LI8RLL84XB8N&asin=B0CMCSSNK9&ref_=dp
                                                _merchant_link&isAmazonFulfilled=1
                     PEIMENG
                                          https://www.amazon.com/sp?ie=UTF8&seller=A1
   88                                     ZX8XWNOV5W0N&asin=B0BYNSW4Q2&ref_
               Frosred - 【 7-20 Days
                                                        =dp_merchant_link
                     Delivery】
                                          https://www.amazon.com/sp?ie=UTF8&seller=A8
   89         PopulusEuphraticaForest     HM054OP2FKS&asin=B0CBTJNG6K&ref_=dp_
                                                           merchant_link
                                          https://www.amazon.com/sp?ie=UTF8&seller=A2
   90                 Rooscier            GOWZ9YEKDOYD&asin=B0CNW5L8X6&ref_
                                              =dp_merchant_link&isAmazonFulfilled=1
                                          https://www.amazon.com/sp?ie=UTF8&seller=A3
   91                  SxClub             KIBA8IARH7I8&asin=B0CH7W5WJQ&ref_=dp
                                                _merchant_link&isAmazonFulfilled=1
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   93               VisiChenup             YOCBRYTTNUE2&asin=B0CH4LFRVT&ref_=
                                                dp_merchant_link&isAmazonFulfilled=1
                                       VA0002379911
                                       1-13195130451
                                           https://www.amazon.com/sp?ie=UTF8&seller=A3
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                                           V9Y39OO1AU4F&asin=B0C892VX6W&ref_=d
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   95                                      N9E4UF9ZPY6M&asin=B0BNQP7NMW&ref_=
               ADHOWBEW 70%off
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                  ALLANDWELL
   96                                     JWTHHQ3GIXEU&asin=B0936KDJVJ&ref_=dp
                                                _merchant_link&isAmazonFulfilled=1
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   98                Cocoinsity           XP0BFNDA5DF7&asin=B099ML8PY4&ref_=dp
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                    Hong Kong Leyuzhen Technology Co. Limited v.
        The Partnerships and Unincorporated Associations Identified on Schedule A

                                AMENDED Schedule A
Defendant
                   Seller's Name                     Link to Infringing Photo
   No.

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   99                                                       DISMISSED
                      Anruioo
                     DBFBDTU               https://www.amazon.com/sp?ie=UTF8&seller=A
  100                                     Q5MNQ3ONEJF8&asin=B0C8TMK6LN&ref_=d
                     Shunliang                           p_merchant_link
                      DIOB                https://www.amazon.com/sp?ie=UTF8&seller=A3
  101                                     JQEG5JKQHGS2&asin=B0BXDKDV9P&ref_=d
                  huanxingkuajing                        p_merchant_link
                                          https://www.amazon.com/sp?ie=UTF8&seller=AZ
  102                 Firecolor           WJDGZT6VHTI&asin=B08396DQWX&ref_=dp
                                                          _merchant_link
                     FLITAY
  103                                                       DISMISSED
                 Glamour Women
                   FQZWONG                https://www.amazon.com/sp?ie=UTF8&seller=A3
  104           Shop holiday deals--      OEZ7AFLW78TX&asin=B0BXB9ZSY1&ref_=d
                   FQZWONG                               p_merchant_link
                     Generic              https://www.amazon.com/sp?ie=UTF8&seller=AL
  105                                     9VGMJEVV2M4&asin=B0BZ7GM7FM&ref_=d
                      hjgjhgf                            p_merchant_link
                      Generic             https://www.amazon.com/sp?ie=UTF8&seller=A8
  106                                     3YNPFGZWGKV&isAmazonFulfilled=0&asin=B
                     CTXXUN                    0BZTQGL6K&ref_=olp_merch_name_1
                      Generic             https://www.amazon.com/sp?ie=UTF8&seller=A3
  107                                     VZ7RPED8JPAF&asin=B0C2VSWCDK&ref_=d
                    aokeshenfyy                          p_merchant_link
                      Generic
                                          https://www.amazon.com/sp?ie=UTF8&seller=A
  108                                     UVZ28K454Y9O&asin=B0BZWFQ5ND&ref_=d
             Lightning Deals of Today--
                                                        p_merchant_link
                      Yantihe
                      Generic             https://www.amazon.com/sp?ie=UTF8&seller=A3
  109                                     2X6FOWLNLMBK&asin=B0BWNBX4NZ&ref_
                     Febecool                           =dp_merchant_link
                     GHAKKE
  110                                                       DISMISSED
                     fulinshop
                      GisTeq              https://www.amazon.com/sp?ie=UTF8&seller=AB
  111                                     PDXU5RLKER3&asin=B0CLHQYQ9V&ref_=dp
              haoruipengmaoyiyouxian                      _merchant_link



                                           8
Case: 1:24-cv-02939 Document #: 95 Filed: 06/15/24 Page 10 of 15 PageID #:1850

                     Hong Kong Leyuzhen Technology Co. Limited v.
         The Partnerships and Unincorporated Associations Identified on Schedule A

                                  AMENDED Schedule A
Defendant
                    Seller's Name                      Link to Infringing Photo
   No.
                                           https://www.amazon.com/sp?ie=UTF8&seller=A1
   112                IbuduSexy            856U6J8MHWFG&asin=B0CBDLZJB4&ref_=dp
                                                 _merchant_link&isAmazonFulfilled=1
                       Jesaisque
                                           https://www.amazon.com/sp?ie=UTF8&seller=A1
   113                                     FAO2PXSRY6OZ&asin=B0BZSBG4M7&ref_=d
                Jesaisque(Deals Of The
                                                          p_merchant_link
                  Day Sale Clearance)
                        JJSUnS             https://www.amazon.com/sp?ie=UTF8&seller=A3
   114                                     8LFRXMBM8NM5&asin=B09KH9L7FP&ref_=d
                    SPRINGFUN                             p_merchant_link
                      Icyhony
                                           https://www.amazon.com/sp?ie=UTF8&seller=A2
   115                                     BXG55JYQUGX8&asin=B0BMP9CHXY&ref_=
              lcyhony 2023 Black Friday
                                                         dp_merchant_link
               Deals-7-20 Days Delivery
                      LFEOOST
   116          oil-LIKIO-US（✈7-14                           DISMISSED
                    days delivery）
                      LOMDEM               https://www.amazon.com/sp?ie=UTF8&seller=A1
   117                                     NMJHZUHYG5PN&asin=B0BW8TCZP6&ref_=
                     fantasone                           dp_merchant_link
                      Mensch
   118           Mensch ✈5-15 Days                           DISMISSED
                     Delivery✈
                      QWEP                 https://www.amazon.com/sp?ie=UTF8&seller=A3
   119                                     LI51WKIBGKHI&asin=B096VFTFN3&ref_=dp_
                       kabuka                              merchant_link
                     SNKSDGM               https://www.amazon.com/sp?ie=UTF8&seller=A3
   120                                     0P35YE6H4F9R&asin=B0BQJ8DPG9&ref_=dp_
                     LUOGENLI                              merchant_link
                                           https://www.amazon.com/sp?ie=UTF8&seller=A3
   121                  SoeHir             L18V4UCFMS74&asin=B0CQR5CTG5&ref_=dp
                                                          _merchant_link
                       Xiloccer
                                           https://www.amazon.com/sp?ie=UTF8&seller=A2
   122                                     BIOOMCOVOSB2&asin=B09M81D1VY&ref_=
                  Xiloccer(7-20 Days
                                                         dp_merchant_link
                       Delivery)
                                       VA0002380492
                                       1-13211027971



                                            9
Case: 1:24-cv-02939 Document #: 95 Filed: 06/15/24 Page 11 of 15 PageID #:1851

                     Hong Kong Leyuzhen Technology Co. Limited v.
         The Partnerships and Unincorporated Associations Identified on Schedule A

                               AMENDED Schedule A
Defendant
                    Seller's Name                     Link to Infringing Photo
   No.
                      AANIRA
                                           https://www.amazon.com/sp?ie=UTF8&seller=A2
   123                                     65FSZAI0P1XA&asin=B0C3YQGTBT&ref_=dp
               qi chun xian yuan ping fu
                                                          _merchant_link
                zhuang xiao shou dian
                                           https://www.amazon.com/sp?ie=UTF8&seller=A2
   124                 LoVnely             RPFVFEAHIAQ8&asin=B0BRJF2DJS&ref_=dp_
                                                           merchant_link
                      MilaBrown            https://www.amazon.com/sp?ie=UTF8&seller=A2
   125                                     Z57WNUE341C5&asin=B09L4Y72SJ&ref_=dp_
                     Shengzhan                             merchant_link
                   PragueCourtney          https://www.amazon.com/sp?ie=UTF8&seller=A1
   126                                     3VMX1BTMSO69&asin=B0B6RSPJTB&ref_=dp
                 NOYESTERDAY                              _merchant_link
                    SDOHIG
   127        SDOHIG lightning deals of                      DISMISSED
                   today prime
                     SSBSQ
                                           https://www.amazon.com/sp?ie=UTF8&seller=A2
   128                                     ESIFM7Z3G9FQ&asin=B09YQ4MF6Q&ref_=dp
              lvliangshilishiqusutifuzhua
                                                          _merchant_link
                        ngdian
                                       VA0002379897
                                        1-13194964937
                                            https://www.amazon.com/sp?ie=UTF8&seller=A1
   129                 BNisBM               HO5OVJEBIIEJ&asin=B0CQM4GNLY&ref_=dp
                                                            _merchant_link
                                            https://www.amazon.com/sp?ie=UTF8&seller=A1
   130                 CRITOR               5EOTZXANZK88&isAmazonFulfilled=0&asin=
                                                 B0CN8J8B49&ref_=olp_merch_name_1
                        FATFY               https://www.amazon.com/sp?ie=UTF8&seller=A2
   131                                      QBD7N543LVJL&asin=B0CQHQVFDR&ref_=d
                        Cuccu-                             p_merchant_link
                       Greensen
   132                                                       DISMISSED
                        Theatly
   133                Mnyycxen                               DISMISSED
                      PLENTOP              https://www.amazon.com/sp?ie=UTF8&seller=A1
   134                                     MGVBWLGTUMET&isAmazonFulfilled=0&asin
                    MIKINGTOP                 =B0CPSRXYD6&ref_=olp_merch_name_1



                                            10
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                     Hong Kong Leyuzhen Technology Co. Limited v.
         The Partnerships and Unincorporated Associations Identified on Schedule A

                                 AMENDED Schedule A
Defendant
                    Seller's Name                     Link to Infringing Photo
   No.
                       ranrann             https://www.amazon.com/sp?ie=UTF8&seller=A3
   135                                     3O3V4MMTD8MP&asin=B0CLRY8PLX&ref_=
                       ranrany                           dp_merchant_link
                                           https://www.amazon.com/sp?ie=UTF8&seller=A3
   136                TDiooCor             QVYLMNMAQLND&asin=B0CH7Q4X91&ref_
                                               =dp_merchant_link&isAmazonFulfilled=1
                      XIBANY
                                           https://www.amazon.ca/sp?ie=UTF8&seller=A2B
   137                                     OCHOKC6T1E7&isAmazonFulfilled=0&asin=B0
               luoyangshichanhehuizuqu
                                                CJDWSCSR&ref_=olp_merch_name_1
                  wangxibaihuodian
                       Ynghtd              https://www.amazon.com/sp?ie=UTF8&seller=A2
   138                                     1SJHRV794DD7&asin=B0CQX8CTKM&ref_=d
                      GOINGJIN                            p_merchant_link
                      ZOCAVIA              https://www.amazon.com/stores/ZOCAVIA/page/
   139                                               CF7EC721-F589-4938-8643-
                   NANFENGKEJI                       113D653275EB?ref_=ast_bln
                                      VA0002379904
                                      1-13195130345
                                           https://www.amazon.com/sp?ie=UTF8&seller=A1
   140               ISABUFEI.             HBZRML7UCXQE&isAmazonFulfilled=0&asin=
                                               B09C5VR1VW&ref_=olp_merch_name_1
                         cdar              https://www.amazon.com/sp?ie=UTF8&seller=A1
   141                                     8MX54BTDGMP&asin=B09S5Z4VJ5&ref_=dp_
                     shenkeilefei                          merchant_link
                      Disimlarl            https://www.amazon.com/sp?ie=UTF8&seller=A1
   142                                     YRONJG0IB9UE&asin=B0CSSPDGRL&ref_=dp
                      Chengjianz                          _merchant_link
                       huigogo
                                          https://www.amazon.com/sp?ie=UTF8&seller=A
   143                                    GPSRZFBF66BR&asin=B0BH7SRNZK&ref_=dp
              taiaaanxianhongxiuchaoliu
                                                         _merchant_link
                          fu
                        Olinase            https://www.amazon.com/sp?ie=UTF8&seller=A1
   144                                     S06OM0DJC7CT&asin=B07T4N6NW9&ref_=dp
                      Xie Jupin                           _merchant_link

   145               PROMLINK                                DISMISSED




                                            11
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                     Hong Kong Leyuzhen Technology Co. Limited v.
         The Partnerships and Unincorporated Associations Identified on Schedule A

                                 AMENDED Schedule A
Defendant
                    Seller's Name                     Link to Infringing Photo
   No.
                                           https://www.amazon.com/sp?ie=UTF8&seller=A2
   146                TUTUESR              3I31CZS7LQCX&asin=B07NWS9CXK&ref_=dp
                                                 _merchant_link&isAmazonFulfilled=1
   147                 YWEFSJ                                DISMISSED
                                      VA0002379930
                                      1-13317532121
                       Disimlarl          https://www.amazon.com/sp?ie=UTF8&seller=AJ
   148                                    4NA9JXG94JC&isAmazonFulfilled=0&asin=B0C
                       Hui.X                     6TCYYVT&ref_=olp_merch_name_1
                      Geleglaer            https://www.amazon.com/sp?ie=UTF8&seller=A
   149                                    G5EYRG0GAOAV&asin=B0C8NYZJTP&ref_=d
                      HuHuiYa                             p_merchant_link
                      Glkaend             https://www.amazon.com/stores/Glkaenddenimjea
   150                                      nsclothing/page/C2B9520B-0605-4EF3-B66E-
                    Glkaend Shop                    5C47D9F1E1D9?ref_=ast_bln
                       KnoInt             https://www.amazon.com/sp?ie=UTF8&seller=A3
   151                                    FF6NU8D24UEY&asin=B0C5RCV29G&ref_=dp
                       TraSuts                   _merchant_link&isAmazonFulfilled=1
                                          https://www.amazon.com/sp?ie=UTF8&seller=A2
   152                Mopatiper           QZLSTQ0V2JHJ&asin=B0C2YN2VHB&ref_=dp
                                                           _merchant_link
                                          https://www.amazon.com/sp?ie=UTF8&seller=A1
   153                 SheKiss            T05S3V2MZNW1&asin=B0C7PQZ5CD&ref_=d
                                                p_merchant_link&isAmazonFulfilled=1
                      Thatrich
   154                                                       DISMISSED
              shenzhenshichuangsanyeke
                                      VA0002379893
                                      1-13194964881
                          5665
   155                                                       DISMISSED
                      XUNRYAN
                       ANDBXH
   156                                                       DISMISSED
                     Meet at Home
                        EDCRF
   157          Gifts for Women---7-15                       DISMISSED
                     Days Deliverd




                                            12
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                     Hong Kong Leyuzhen Technology Co. Limited v.
         The Partnerships and Unincorporated Associations Identified on Schedule A

                                 AMENDED Schedule A
Defendant
                    Seller's Name                     Link to Infringing Photo
   No.
                      ELODEK               https://www.amazon.com/sp?ie=UTF8&seller=A1
   158                                     WAJKUI8O9Y21&asin=B0CQTM4297&ref_=dp
              ZunHuaShiHuaMingLuXia                       _merchant_link
                     Generic
                                           https://www.amazon.com/sp?ie=UTF8&seller=A
   159                                     X8T6AXX9PVC7&asin=B0C9QBRPKB&ref_=d
                Best Seller of Womens
                                                         p_merchant_link
                         Pants
                       Generic             https://www.amazon.com/sp?ie=UTF8&seller=A2
   160                                     GLF86WHN3Y80&asin=B09H3VKR6S&ref_=dp
                      Glozeplus                  _merchant_link&isAmazonFulfilled=1
                    JiaHeShiXing           https://www.amazon.com/sp?ie=UTF8&seller=A1
   161                                     FVIPYYZX47J0&asin=B0CR6KXMPX&ref_=dp
                    ZhuZhongShi                             _merchant_link
                                           https://www.amazon.com/sp?ie=UTF8&seller=A1
                                           83295JQ6L5VE&asin=B0BPKF9R4F&ref_=dp_
   162                 LalaLin
                                                  merchant_link&isAmazonFulfilled=1

                      Linjianvhai          https://www.amazon.com/sp?ie=UTF8&seller=A3
   163                                     6TC0NGYIYD4Z&asin=B09VP5NS7J&ref_=dp_
                    NIANXIETAP                              merchant_link
                                           https://www.amazon.com/sp?ie=UTF8&seller=A1
                       Oudemi
                                           SV2HCRGTNI7J&asin=B0BMGN6FS9&ref_=dp
   164
                                                 _merchant_link&isAmazonFulfilled=1
                       Danswin
                       Ruereuu             https://www.amazon.com/sp?ie=UTF8&seller=A3
   165                                     OQAGU8W6Q353&asin=B0BPCLQ9WD&ref_=
                     Yaowang.T                            dp_merchant_link
                      Runwind              https://www.amazon.com/sp?ie=UTF8&seller=A2
   166                                     2BX9TLZJO5TB&asin=B0C7KBHLN3&ref_=dp
              Runwind Fashion Clothing           _merchant_link&isAmazonFulfilled=1
   167                Ruziyoog                               DISMISSED
                      SCOMIN               https://www.amazon.com/sp?ie=UTF8&seller=A1
   168                                     HEYD2UQ1IPTL&asin=B0BR2237S8&ref_=dp_
              taiandejukejiyouxiangongsi                   merchant_link

   169               SHOPESSA                                DISMISSED




                                            13
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                     Hong Kong Leyuzhen Technology Co. Limited v.
         The Partnerships and Unincorporated Associations Identified on Schedule A

                                 AMENDED Schedule A
Defendant
                    Seller's Name                     Link to Infringing Photo
   No.
                       Znidweer            https://www.amazon.com/sp?ie=UTF8&seller=A7
   170                                     4PYV8R5ENZ0&asin=B0B24LJ9GV&ref_=dp_
                       Menglo                              merchant_link
                                      VA0002380491
                                      1-13211028482
                       Akivide            https://www.amazon.com/sp?ie=UTF8&seller=A1
   171                                    YJC3DNY4FSIN&asin=B09SLQKLWZ&ref_=dp
                        idcjny                            _merchant_link
                                          https://www.amazon.com/sp?ie=UTF8&seller=A3
                                          HG8U0ST1MM3H&asin=B0C596SM6P&ref_=d
   172                PaladMom
                                                p_merchant_link&isAmazonFulfilled=1

                     RYGEFNY              https://www.amazon.com/sp?ie=UTF8&seller=AC
   173                                    CIUCB9Y8ETB&asin=B09C7925G4&ref_=dp_m
                        YTOS                                  erchant_link
                                          https://www.amazon.com/sp?ie=UTF8&seller=A1
   174                  Yajedo            UIMIRPXFI0Q1&asin=B0C7CB6KDK&ref_=dp
                                                 _merchant_link&isAmazonFulfilled=1
                                          https://www.amazon.com/sp?ie=UTF8&seller=A7
   175                  ZonJie            MES8ZDPMT86&asin=B0C5C5RMS3&ref_=dp_
                                                  merchant_link&isAmazonFulfilled=1




                                            14
